      Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 1 of 40 PageID #:1




                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS

 ABC DIAMONDS INC.,
 Individually and on behalf of all others
 similarly situated

                        Plaintiff,                CLASS ACTION

         v.                                       JURY TRIAL DEMANDED

 THE HARTFORD FINANCIAL
 SERVICES GROUP, INC., and
 HARTFORD CASUALTY
 INSURANCE COMPANY

                        Defendants.


                                 CLASS ACTION COMPLAINT

       Plaintiff ABC Diamonds Inc. (“ABC” or “Plaintiff”), both individually and on behalf of

all others similarly situated, files this class action Complaint against Defendants The Hartford

Financial Services Group Inc. and Hartford Casualty Insurance Company (collectively

“Defendants” or “Hartford”), and in support of its claims states the following on information and

belief based on reasonable investigation and discovery, except where specifically identified as

being based on personal knowledge:

                                       INTRODUCTION

       1.      On personal knowledge, Plaintiff ABC is a corporation operating as a jeweler

located in Chicago, Illinois.

       2.      To protect its properties and income from the operation of its businesses, ABC

purchased a Spectrum Business Owner’s commercial insurance policy issued by Hartford bearing

policy number 83 SBA TZ9442 SA (“Spectrum Policy”). A true and correct copy of the policy is

attached here to as Exhibit A.
     Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 2 of 40 PageID #:2




       3.      Under the Spectrum Policy, Hartford is responsible for receiving and managing

claims and loss notices, responding to questions about insurance and coverage and paying claims

for covered losses.

       4.      The Spectrum Policy is a bilateral contract: Plaintiff agreed to pay premiums to

Hartford in exchange for Hartford’s promises of coverage for all risks of loss except those

specifically and unambiguously excluded.

       5.      Plaintiff reasonably expected that claims for loss of business income and extra

expenses arising from the inability to physically use its insured premises would be paid unless

specifically and unambiguously excluded.

       6.      Among other types of coverage, the Spectrum Policy protects Plaintiff against an

actual loss of business income due to a “suspension” of the business’s “operations” due to direct

physical loss of or damage to the insured premises.

       7.      Specifically, the Special Property Coverage Form (SS 00 07 07 05) endorsement

to the Spectrum Policy protects Plaintiff against the actual loss of business income due to a

suspension of Plaintiff’s operations. Along with this business income coverage, Plaintiff also had

in effect “Extra Expense” coverage under which Hartford promised to pay necessary expenses

Plaintiff incurred during a period of restoration that it would not have otherwise incurred if there

had been no direct physical loss of or physical damage to the insured premises.

       8.      Additionally, the Special Property Coverage Form (SS 00 07 07 05) endorsement

provides “Civil Authority” coverage, under which Hartford promised to pay for loss of business

income sustained when the action of a civil authority prohibits access to the insured premises.

       9.      Plaintiff duly complied with its obligations under the Spectrum Policy, and timely

paid the requisite premiums.




                                                 2
         Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 3 of 40 PageID #:3




           10.     On March 21, 2020, the Governor of the State of Illinois issued an Executive Order

requiring that all individuals must stay at home, with exceptions for essential activities, essential

government functions, and essential businesses and operations.1

           11.     As a result of this and other local government orders, ABC was forced to suspend

the physical use of its insured premises in Illinois for purposes of conducting its business activities.

           12.     As a result of the Orders of the various civil authorities, Plaintiff suffered, and/or

continues to suffer, significant and injurious losses and expenses directly related to the inability to

use the physical locations covered by the Spectrum Policy.

           13.     The Spectrum Policy obligated Hartford to provide coverage for, and to pay,

business income losses and extra expense losses resulting from the suspension of Plaintiff’s

operations, including suspensions resulting from actions of civil authorities. ABC provided notice

of loss to Hartford on March 20, 20202.

           14.     In response, on April 23, 2020, Hartford reneged on these obligations and

wrongfully failed to fulfill its contractual obligation to provide coverage for, and pay, ABC’s

business income losses and extra expense losses resulting from the suspension of its operations,

including suspensions resulting from actions of civil authorities. The actions of Hartford in

improperly denying ABC’s claim were a blatant disregard for its contractual rights resulting in a

material breach of Hartford’s duties and obligation owed under the Spectrum Policy and deprived

it of the benefit of its bargain causing serious financial damages to Plaintiff.




1
    See attached Exhibit B, Illinois Executive Order No. 2020-10 (March 20, 2020).
2
    See attached Exhibit C, Hartford April 23, 2020 Coverage Disclaimer Letter.



                                                          3
      Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 4 of 40 PageID #:4




        15.     Under the Spectrum Policy, Hartford promised to cover these losses, and is

obligated to pay for them. But in blatant breach of its contractual obligations, Hartford has failed

to pay for these losses.

        16.     Upon information and belief, Hartford has failed to pay for similar losses of other

Illinois insureds holding policies that are, in all material respects, identical.

                                           THE PARTIES

        17.     On personal knowledge, ABC is corporation organized under the laws of and

existing in the State of Illinois with a principal place of business located at 29 East Madison Street,

Suite 1818, Chicago, Illinois 60602.

        18.     Defendant The Hartford Financial Services Group, Inc. is a corporation organized

under the laws of Connecticut, with its principal place of business located at One Hartford Plaza,

Hartford, Connecticut 06155.

        19.     Defendant Hartford Casualty Insurance Company is a corporation organized under

the laws of Indiana, with its principal place of business located at One Hartford Plaza, Hartford,

Connecticut 06155. Hartford Casualty Insurance Company is a wholly owned underwriting

subsidiary of The Hartford Financial Services Group, Inc.

        20.     At all material times hereto, Defendants conducted and transacted business through

the selling and issuing of insurance policies, including, but not limited to, selling and issuing

commercial property coverage to Plaintiff and all other Class Members as defined infra.

        21.     At all times relevant, the Defendants were acting in the course and scope of such

agency, representation, joint venture, conspiracy, consultancy, predecessor agreement, successor

agreement, service and employment, with knowledge, acquiescence, and ratification of each other

and their principal The Hartford Financial Group.




                                                   4
      Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 5 of 40 PageID #:5




                                  JURISDICTION AND VENUE

        22.       This Court has subject matter jurisdiction over the claims asserted in this action

under 28 U.S.C. § 1332 because there is complete diversity between Defendants and at least one

member of each class; there are more than one hundred members of each class; and the amount in

controversy exceeds $5,000,000 exclusive of interest and costs. This Court also has subject matter

jurisdiction under 28 U.S.C. §§ 2201 and 2202 and is authorized to grant declaratory relief under

these statutes.

        23.       Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) because a

substantial part of the events or omissions giving rise to the claim occurred in this district and

property that is the subject of the action is situated in this District.

        24.       This Court has personal jurisdiction over the Defendants because Plaintiff’s claims

arise out of, among other things, Defendants conducting, engaging in, and/or carrying on business

in Illinois; Defendants breaching a contract in Illinois by failing to perform acts required by

contract to be performed in Illinois; and Defendants contracting to insure property in Illinois,

including, but not limited to, premises insured under the Spectrum Policy. Defendants also

purposefully availed themselves of the opportunity of conducting activities in the State of Illinois

by marketing their insurance policies and services within Illinois, and intentionally developing

relationships with brokers, agents, and customers within Illinois to insure property within Illinois,

all of which resulted in the issuance of policies at issue in this class action.

                                   FACTUAL BACKGROUND

                                               The Policy

        25.       On personal knowledge, in or about January 2020, ABC renewed its Spectrum

Policy. The Spectrum Policy has a policy period of January 9, 2020, to January 9, 2021. The




                                                    5
      Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 6 of 40 PageID #:6




insured premises under the Spectrum Policy is 29 East Madison Street, Suite 1818, Chicago,

Illinois 60602.

       26.        The Spectrum Policy is the same or substantially similar to all other Spectrum

Policies issued by Hartford to Class members.

       27.        The Spectrum Policy provides coverage on an “all risk” rather than specified peril

basis. In an all-risk insurance policy, all risks of loss are covered unless they are specifically

excluded.

       28.        The Spectrum Policy, in the Special Property Coverage Form, states:

                  A.     Coverage

              We will pay for direct physical loss of or damage to Covered Property at the
              premises described in the Declarations (also called “scheduled premises” in
              this policy) caused by or resulting from a Covered Cause of Loss.

       29.        The Spectrum Policy contains both a “Specified Cause of Loss” category and

“Covered Cause of Loss” category, the latter of which is an all-risk coverage form meaning that

all risks are covered unless specifically excluded or limited by the Policy. All risks coverage is

defined by limitations and exclusions in the policies.

       30.        Under paragraph “A. Coverage” subparagraph 3 “Covered Causes of Loss” of the

Special Property Coverage Form, the Spectrum Policy provides coverage for all “RISKS OF

DIRECT PHYSICAL LOSS unless the loss is: a. Excluded in Section B., EXCLUSIONS, or b.

Limited in Paragraph A.4. Limitations ....” (emphasis in original).

       31.        Under paragraph “A. COVERAGE” subparagraph 5. “Additional Coverages” of

the Special Property Coverage Form, the Spectrum Policy provides coverage for, among other

things: “o. Business Income”; “p. Extra Expense”; “q. Civil Authority”; “r. Extended Business

Income” and “s. Business Income from Dependent Properties.”




                                                  6
      Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 7 of 40 PageID #:7




       32.     So long as the Plaintiff sustained a physical loss of its insured property, the

Defendants promised:

       o.      Business Income

       We will pay for the actual loss of Business Income you sustain due to the necessary
       “suspension” of your “operations” during the “period of restoration”. The
       “suspension” must be caused by direct physical loss of or damage to property at the
       “scheduled premises”, including personal property in the open (or in a vehicle)
       within 1,000 feet of the “scheduled premises”, caused by or resulting from a
       Covered Cause of Loss….

       p.      Extra Expense

       We will pay reasonable and necessary Extra Expense you incur during the “period
       of restoration” that you would not have incurred if there had been no direct
       physical loss or physical damage to property at the “scheduled premises”, including
       personal property in the open (or in a vehicle) within 1,000 feet, caused by or
       resulting from a Covered Cause of Loss.

       33.     Neither “damage” nor the phrases “direct physical loss” and “damage to property”

are defined by the Spectrum Policy. However, “suspension” is defined as “a. The partial shutdown

or complete cessation of your business activities; or 2. That a part or all of the ‘scheduled premises’

is rendered untenantable as a result of a Covered Cause of Loss if coverage for Business Income

applies to the policy.”

       34.     The Spectrum Policy also provides Extended Business Income coverage, as

follows:

       r.      Extended Business Income

               If the necessary “suspension” of your “operations” produces a Business
               Income loss payable under this policy, we will pay for the actual loss of
               Business Income you incur during the period that:

               (a)        Begins on the date property is actually repaired, rebuilt or replaced
                          and “operations” are resumed; and

               (b)        Ends on the earlier of:




                                                    7
      Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 8 of 40 PageID #:8




                       i.    The date you could restore your “operations”, with reasonable
                             speed, to the condition that would have existed if no direct
                             physical loss or damage occurred; or

                       ii.   30 consecutive days after the date determined in (1)(4) above.


               Loss of Business Income must be caused by direct physical loss or physical
               damage at the “scheduled premises” caused by or resulting from a Covered
               Cause of Loss.

       35.     In addition to promising to pay for loss of Business Income, under the Spectrum

Policy, Defendants also promised to pay for certain necessary “Extra Expense.” Extra Expense is

defined as expenses that the policyholder incurs to “minimize the suspension of business if you

cannot continue ‘operations’.”

       36.     The Spectrum Policy also provides additional “Civil Authority” coverage as

follows:

               q.      Civil Authority

               (1) This insurance is extended to apply to the actual loss of Business Income
                   you sustain when access to your “scheduled premises” is specifically
                   prohibited by order of a civil authority as the direct result of a Covered
                   Cause of Loss to property in the immediate area of your “scheduled
                   premises”..


       37.     The Business Income and Extra Expense, as well as the Extended Business Income,

coverages are separate, independent and not mutually exclusive of the coverage for Civil

Authority; thus, the Plaintiff theoretically could recover under any one of these coverages or all of

these coverages at the same time.

                                       History of COVID-19

       38.     On December 31, 2019, the World Health Organization reported people in China

were becoming sick due to a mysterious form of pneumonia.




                                                 8
     Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 9 of 40 PageID #:9




       39.       On January 11, 2020, China reported its first death from the mysterious form of

pneumonia.

       40.       On January 21, 2020, the first confirmed case of the mysterious form of pneumonia

was reported in the United States.

       41.       On January 30, 2020, for only the sixth time in its history, the World Health

Organization, declared the outbreak of the mysterious form of pneumonia a Public Health

Emergency of International Concern.

       42.       On February 29, 2020, the first death caused by COVID-19 was reported in the

United States.

       43.       On March 13, 2020, President Trump declares the outbreak of COVID-19 to be a

national emergency.

       44.       As of March 17, 2020, COVID-19 was reported to be present in every state in the

United States.

       45.       As of March 26, 2020, the United States had more confirmed cases of COVID-19

than any other country in the world.

       46.       Per the Centers for Disease Control and Prevention (“CDC”), there is no vaccine to

protect against COVID-19 and no medications approved to treat it.

       47.       It may take up to 14 days for an infected person to have symptoms.

       48.       A large percentage of persons who tested positive for COVID-19 showed no

symptoms prior to testing. In fact, the director of the CDC, Dr. Robert Redfield, stated that “we

have pretty much confirmed that a significant number of individuals that are infected actually

remain asymptomatic. That may be as many as 25%. That's important, because now you have




                                                 9
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 10 of 40 PageID #:10




individuals that may not have any symptoms that can contribute to transmission, and we have

learned that in fact they do contribute to transmission”.

       49.     The WHO states that COVID-19 can spread directly from person to person through

small droplets from the nose or mouth and also indirectly when a person with COVID-19

contaminates objects and surfaces, and other people touch these objects or surfaces and then touch

their eyes, nose or mouth.

                          Actions of Civil Authority by the State of Illinois

       50.     On March 9, 2020, Governor J.B. Pritzker declared all counties in the State of

Illinois as a disaster area, specifically “in response to the outbreak of COVID-19.” On April 1,

Governor Pritzker again declared all counties in the State of Illinois as a disaster area, specifically

“in response to the exponential spread of COVID-19.

       51.     On March 15, 2020, Illinois Governor J.B. Pritzker issued Executive Order 2020-

07 stating “it is necessary and appropriate for the State of Illinois to immediately take measures to

protect the public’s health in response to this COVID19 outbreak.” With this goal in mind,

Governor Pritzker ordered that all bars and restaurants close to the public effective March 16, 2020

to March 30, 2020 (later extended to April 30, 2020 per COVID-19 Executive Order No. 16) and

prohibiting all public and private gatherings of 50 people or more, in addition other strict mandates.

       52.     The stated goal of this order was to slow the spread of COVID-19 by minimizing

in-person interaction in an environment with “frequently used services in public settings, including

bars and restaurants…” The March 15th order further provided that “the ongoing spread of COVID-

19 and the danger the virus poses to the public’s health and wellness require the reduction of on-

premises consumption of food and beverages.”

       53.     On March 20, 2020, Governor Pritzker issued a Closure Order (Executive Order

2020-10) (a.k.a., a Stay At Home Order) requiring all Illinois residents to stay at home barring


                                                  10
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 11 of 40 PageID #:11




exceptions such as essential travel for essential work or supplies, exercise and recreation, through

April 7, 2020. Moreover, the March 20th order reduced the allowable public and private gathering

size to no more than 10 people. The March 20th order was again in direct response to the continued

and increasing presence of SARS-CoV-2on property at or around Plaintiffs’ premises.

       54.     On March 26, 2020, Chicago Mayor Lori Lightfoot shut down Chicago’s most

popular gathering spots, including the entire lakefront and all its parks, bike trails and beaches.

       55.     On April 30, 2020, Executive Order 2020-32 extended the prohibition on non-

essential services until May 29, 2020 (together with other Order 32-10, the “Closure Orders”).

Pursuant to the Orders, “[r]etail stores not designated as Essential Businesses and Operations may

re-open for the limited purposes of fulfilling telephone and online orders through pick-up outside

the store and delivery – which are deemed to be Minimum Basic Operations. Employees working

in the store must follow the social Distancing Requirements, and must wear a face covering when

they may come within six feet of another employee or a customer.”

       56.     On May 1, 2020, the Mayor of Chicago and the Governor of Illinois issued public

health order No. 2020-3 requiring all Chicagoans to stay at home except for essential needs, such

as getting groceries once a week or seeking medical care, stay 6 feet away from others and always

wear a face covering.

       57.     The actions of the State of Illinois directly forced ABC to cease, suspend and/or

severely limit its physical use of the insured premises and corresponding business operations.

                                      Plaintiff’s Covered Loss

       58.     The presence of COVID-19 caused civil authorities throughout Illinois to issue

orders requiring the suspension of business and/or use of commercial property, including the

property of Plaintiffs and other class members as well as property in the immediate area of such

covered property.


                                                 11
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 12 of 40 PageID #:12




         59.    The Civil Authority Orders include, but are not limited to, the following Executive

Order:

         March 21, 2020 Executive Order by Governor Pritzker which stated that all individuals

         must stay at home, with exceptions for essential activities, essential government functions,

         and essential businesses and operations.

         60.    There has been a direct physical loss of and/or damage to the covered premises

under the Spectrum Policy by, among other things, denying access to the property, preventing

customers and employees from physically occupying the property, causing the property to be

physically uninhabitable by customers and employees, causing its function to be nearly eliminated

or destroyed, and/or causing a suspension of business operations on the premises.

         61.    Plaintiff has suffered a suspension of normal business operations and a cessation of

all operations on the premises, sustained losses of business income, and incurred extra expenses.

         62.    These losses and expenses have continued through the date of filing of this action.

         63.    These losses and expenses are not excluded from coverage under the Spectrum

Policy, and because the Spectrum Policy is an all-risk policy, and Plaintiff has complied with their

contractual obligations, Plaintiff is entitled to payment for these losses and expenses.

         64.    Plaintiff has suffered a suspension and/or cessation of all normal business

operations given the response to the global pandemic associated with the spread of COVID-19,

including the actions of civil authority described herein.

         65.    These losses and expenses have continued through the date of filing of this action,

and will continue unabated unless and until Hartford fulfills its contractual obligations under the

Spectrum Policy.




                                                    12
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 13 of 40 PageID #:13




  Hartford’s Uniform Practice to Deny Coverage for COVID-19 Business Interruption Losses

       66.     Hartford arbitrarily and wrongfully disclaimed coverage for Plaintiff’s losses.

       67.     Defendants’ denial of coverage was pre-determined and without regard to the

individual circumstances of Plaintiff or other insureds.

       68.     Before Plaintiff and other members of the proposed class of policy holders

submitted notice of and information about their claims, Defendants had determined not to afford

coverage for any such claims.

       69.     Defendants have refused to make payment to Plaintiff for damages resulting from

the covered losses described supra, which constitutes a breach of the Spectrum Policy.

       70.     Defendants’ refusal to cover the covered losses is erroneous and unsupported by

the plain language of the Spectrum Policy.

       71.     As such, Defendants owe Plaintiff’s insurance coverage and benefits under the

Spectrum Policy for the losses, and there is no valid basis for its refusal to issue the same.

       72.     Plaintiff continues to be damaged by Defendants’ refusal to issue the full amounts

due and owing under the Spectrum Policy.

                              CLASS ACTION ALLEGATIONS

       73.     The class claims all derive directly from a single course of conduct by Defendants:

their systematic, uniform, capricious and arbitrary refusal to pay insureds for covered losses and

the actions taken by civil authorities to suspend business operations.

       74.     Plaintiff brings this action pursuant to Rules 23(a), 23(b)(1), 23(b)(2), and/or

23(b)(3), as well as 23(c)(4), of the Federal Rules of Civil Procedure, individually and on behalf

of all others similarly situated. This action satisfies the numerosity, commonality, typicality,

adequacy, predominance, and superiority requirements of those provisions.




                                                 13
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 14 of 40 PageID #:14




       75.     Plaintiff seeks to represent an Illinois state-wide class as the Court may deem

appropriate defined as:

               a)     All Illinois businesses that purchased Business Income and Extra Expense

               coverage under a policy of insurance issued by Defendants covering the period of

               March 2020 through the present that suffered a suspension of business operations

               due to government prohibitions on the use of their insured premises, and for which

               Defendants have either actually denied or stated they will deny a claim for the

               losses or have otherwise failed to acknowledge, accept as a covered cause of loss,

               or pay for the covered losses (“the Business Income Coverage Class”).

               b)     All Illinois businesses that purchased Extended Business Income coverage

               under a policy of insurance issued by Defendants covering the period of March

               2020 through the present that incurred extra expenses to avoid or minimize the

               suspension of business operations due to government prohibitions on the use of

               their insured premises, and for which Defendants have either actually denied or

               stated they will deny a claim for the extended business income or have otherwise

               failed to acknowledge, accept as a covered expense, or pay for the covered expenses

               (“the Extended Business Income Coverage Class”).

               c)     All Illinois businesses that purchased Civil Authority coverage under a

               policy of insurance issued by Defendants, covering the period of March 2020

               through the present that suffered an actual loss of Business Income and/or Extra

               Expense due to government prohibitions on the use of their insured premises, and

               for which Defendants have either actually denied or stated they will deny a claim




                                               14
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 15 of 40 PageID #:15




               for the losses or have otherwise failed to acknowledge, accept as a covered cause

               of loss, or pay for the covered losses (“the Civil Authority Coverage Class”).

       76.     Excluded from each defined proposed Classes are Defendants and any of their

members, affiliates, parents, subsidiaries, officers, directors, employees, successors, or assigns;

governmental entities; Class Counsel and their employees; and the judicial officers and Court staff

assigned to this case and their immediate family members.

       77.     Plaintiff reserves the right to modify, expand, or amend the definitions of the

proposed Classes, as appropriate, during the course of this litigation.

       78.     This action has been brought and may properly be maintained on behalf of each

Class proposed herein under the criteria of Rule 23 of the Federal Rules of Civil Procedure.

                                            Numerosity

       79.     This action satisfies the requirements of Fed. R. Civ. P. 23(a)(1). The members of

each proposed Class are so numerous that individual joinder of all Class members is impracticable.

There are, at a minimum, thousands of members of each proposed Class, and these individuals and

entities are spread out across the State and the United States.

       80.     The identity of Class members is ascertainable, as the names and addresses of all

Class members can be identified in Defendants’ or its agents’ books and records. Class members

may be notified of the pendency of this action by recognized, Court-approved notice dissemination

methods, which may include U.S. mail, electronic mail, internet postings, and/or published notice.

                                 Commonality and Predominance

       81.     This action satisfies the requirements of Fed. R. Civ. P. 23(a)(2) and 23(b)(3)

because this action involves common questions of law and fact that predominate over any

questions affecting only individual Class members. Defendants issued all-risk policies to all the




                                                 15
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 16 of 40 PageID #:16




members of each proposed Class in exchange for payment of premiums by the Class members.

The questions of law and fact affecting all Class members include, without limitation, the

following:

             a)      Whether Plaintiff and the Class members suffered a covered cause of loss

             under the policies issued to members of the Class;

             b)      Whether Defendants wrongfully, capriciously and arbitrarily denied all

             claims based on the facts set forth herein;

             c)      Whether Defendants’ Business Income coverage applies based on the facts

             set forth herein;

             d)      Whether Defendants’ Civil Authority coverage applies to a loss of

             Business Income based on the facts set forth herein;

             e)      Whether Defendants’ Extra Expense coverage applies to efforts to avoid

             or minimize a loss caused by the suspension of business based on the facts set

             forth herein;

             f)      Whether Defendants have breached their contracts of insurance through a

             uniform and blanket denial of all claims for business losses based on the facts set

             forth herein;

             g)      Whether the Defendants act in bad faith breach of contract and the duty of

             good faith and fair dealing through a uniform and blanket denial of all claims for

             business losses based on the facts set forth herein; and

             h)      Whether Plaintiff and the Class members suffered damages as a result of

             Defendants’ actions; and




                                              16
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 17 of 40 PageID #:17




                 i)     Whether Plaintiff and the Class members are entitled to an award of

                 reasonable attorneys’ fees, interest, and costs.

                                               Typicality

       82.       This action satisfies the requirements of Fed. R. Civ. P. 23(a)(3) because Plaintiff’s

claims are typical of the claims of the Class members and arise from the same course of conduct

by Defendants. Plaintiff and the other Class members are all similarly affected by Defendants’

refusal to pay under their property insurance policies. Plaintiff’s claims are based upon the same

legal theories as those of the other Class members. Plaintiff and the other Class members sustained

damages as a direct and proximate result of the same wrongful practices in which Defendants

engaged. The relief Plaintiff seek is typical of the relief sought for the absent Class members.

                                     Adequacy of Representation

       83.       This action satisfies the requirements of Fed. R. Civ. P. 23(a)(4) because Plaintiff

will fairly and adequately represent and protect the interests of Class members. Plaintiff has

retained counsel with substantial experience in prosecuting complex class action litigation.

       84.       Plaintiff and their counsel are committed to vigorously prosecuting this action on

behalf of the Class members and have the financial resources to do so. Neither Plaintiff nor their

counsel has interests adverse to those of the Class members.

             Inconsistent or Varying Adjudications and the Risk of Impediments to Other
                                      Class Members’ Interests

       85.       This action satisfies the requirements of Fed. R. Civ. P. 23(b)(1). Plaintiff seeks

class-wide adjudication as to the interpretation and scope of Defendants’ Commercial Business

Owner insurance policies that use the same language and terms as the Spectrum Policy. The

prosecution of separate actions by individual members of the proposed Classes would create an




                                                   17
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 18 of 40 PageID #:18




imminent risk of inconsistent or varying adjudications that would establish incompatible standards

of conduct for Defendants.

             Final Injunctive and/or Corresponding Declaratory Relief with respect to
                                     the Class is Appropriate

       86.      This action satisfies the requirements of Fed. R. Civ. P. 23(b)(2) because

Defendants acted or refused to act on grounds generally applicable to Plaintiff and the members

of the Classes, thereby making appropriate final injunctive and/or corresponding declaratory relief

with respect to the Class members. The class claims all derive directly from Defendants’

systematic, uniform, capricious and arbitrary refusal to pay insureds for losses suffered due to

actions taken by civil authorities to suspend or interrupt business operations in response to the

pandemic associated with the spread of COVID-19. Defendants’ actions or refusal to act are

grounded upon the same generally applicable legal theories.

                                           Superiority

       87.      This action satisfies the requirements of Fed. R. Civ. P. 23(b)(3) because a class

action is superior to other available methods for the fair and efficient group-wide adjudication of

this controversy. The common questions of law and of fact regarding Defendants’ conduct and the

interpretation of the common language in their health club insurance policies predominate over

any questions affecting only individual Class members.

       88.      Because the damages suffered by certain individual Class members may be

relatively small, the expense and burden of individual litigation would make it very difficult for

all individual Class members to redress the wrongs done to each of them individually, such that

many Class members would have no rational economic interest in individually controlling the

prosecution of specific actions, and the burden imposed on the judicial system by individual




                                                18
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 19 of 40 PageID #:19




litigation by even a small fraction of the Class would be enormous, making class adjudication the

superior alternative under Fed. R. Civ. P. 23(b)(3)(A).

        89.     The conduct of this action as a class action presents far fewer management

difficulties, far better conserves judicial resources and the parties’ resources, and far more

effectively protects the rights of each Class member than would piecemeal litigation. Compared

to the expense, burdens, inconsistencies, economic infeasibility, and inefficiencies of

individualized litigation, the challenges of managing this action as a class action are substantially

outweighed by the benefits to the legitimate interests of the parties, the Court, and the public of

class treatment in this Court, making class adjudication superior to other alternatives, under Fed.

R. Civ. P. 23(b)(3)(D).

        90.     Plaintiff is not aware of any obstacles likely to be encountered in the management

of this action that would preclude its maintenance as a class action. Rule 23 provides the Court

with authority and flexibility to maximize the efficiencies and benefits of the class mechanism and

reduce management challenges. The Court may, on motion of Plaintiff or on its own determination,

certify nationwide, statewide and/or multistate classes for claims sharing common legal questions;

utilize the provisions of Rule 23(c)(4) to certify any particular claims, issues, or common questions

of fact or law for class-wide adjudication; certify and adjudicate bellwether class claims; and utilize

Rule 23(c)(5) to divide any Class into subclasses.

                                       CAUSES OF ACTION

                                              COUNT I:
                                  DECLARATORY JUDGMENT
                          (On behalf of the Business Income Coverage Class)

        91.     Plaintiff incorporates by reference and re-allege paragraphs 1 through 90 as though

fully set forth herein.




                                                  19
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 20 of 40 PageID #:20




       92.     Plaintiff brings this Count both individually and on behalf of the other members of

the Business Income Coverage Class.

       93.     Under 28 U.S.C. §§ 2201 and 2202, this Court has jurisdiction to declare the rights

and other legal relations of the parties in dispute.

       94.     The Spectrum Policy, as well as the policies of other Business Income Coverage

Class members, are insurance contracts under which Defendants were paid premiums in exchange

for promises to pay Class members’ losses for claims covered by the Spectrum Policies.

       95.     In the Spectrum Policy, Defendants promised to pay for losses of business income

and extra expense sustained as a result of perils not excluded under the Spectrum Policy.

Specifically, Defendants promised to pay for losses of business income and extra expense

sustained as a result of a suspension of business operations during the period of restoration.

       96.     Plaintiff and Class members suffered direct physical loss of or damage to Plaintiff’s

insured locations and other Class members’ insured premises, resulting in interruptions or

suspensions of business operations at the locations. These suspensions and interruptions have

caused Plaintiff and Class members to suffer losses of business income and extra expense.

       97.     These suspensions and interruptions, and the resulting losses, triggered business

income and extra expense coverage under the Spectrum Policy and other Class members’ policies.

       98.     Plaintiff and the other Class members have complied with all applicable provisions

of their respective policies, including payment of premiums.

       99.     Defendants, without justification, deny that the Plaintiff’s Spectrum Policy and

other Class members’ policies provide coverage for these losses.




                                                  20
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 21 of 40 PageID #:21




        100.    Plaintiff seeks a Declaratory Judgment that its Spectrum Policy and other Class

members’ policies provide coverage for the losses of business income and extra expense

attributable to the facts set forth above.

        101.    An actual case or controversy exists regarding Plaintiff’s and other Class members’

rights and Defendants’ obligations to reimburse Plaintiff and other Class members for the full

amount of these losses. Accordingly, the Declaratory Judgment sought is justiciable.

        WHEREFORE, Plaintiff requests that this Court enter a Declaratory Judgment declaring

that the Spectrum Policy and other Class members’ policies provide coverage for Class members’

losses of business income.

                               COUNT II: BREACH OF CONTRACT
                          (On behalf of the Business Income Coverage Class)

        102.    Plaintiff incorporates by reference and re-allege paragraphs 1 through 90 as though

fully set forth herein.

        103.    Plaintiff brings this Count both individually and on behalf of the other members of

the Business Income Coverage Class.

        104.    The Spectrum Policy, as well as the policies of other Business Income Coverage

Class members, are insurance contracts under which Defendants were paid premiums in exchange

for promises to pay Class members’ losses for claims covered by the policies.

        105.    In the Spectrum Policy, Defendants promised to pay for losses of business income

and extra expense incurred as a result of perils not excluded under the Spectrum Policy.

Specifically, Defendants promised to pay for losses of business income and extra expense

sustained as a result of a suspension of business operations during the period of restoration.

        106.    Plaintiff and Class members have suffered a direct physical loss of or damage to

Plaintiff’s insured locations and other Class members’ insured premises as a result of interruptions



                                                 21
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 22 of 40 PageID #:22




or suspensions of business operations at these premises. These interruptions and suspensions have

caused Class members to suffer losses of business income and extra expense.

        107.    These losses triggered business income and extra expense coverage under both the

Spectrum Policies and other Class members’ policies.

        108.    Plaintiff and the other Class members have complied with all applicable provisions

of their respective policies, including payment of premiums.

        109.    Defendants, without justification and in bad faith, has denied coverage and refused

performance under the Spectrum Policy and other Class members’ policies by denying coverage

for these losses and expenses. Accordingly, Defendants are in breach of the Spectrum Policy and

other Class members’ policies.

        110.    As a result of Defendants’ breaches of the Spectrum Policy and other Class

members’ policies, Plaintiffs and other Class members have suffered actual and substantial

damages for which Defendants are liable.

        WHEREFORE, Plaintiff, both individually and on behalf of other Class members, seeks

compensatory damages resulting from Defendants’ breaches of the Spectrum Policy and other

Class Members’ policies and seeks all other relief deemed appropriate by this Court.

                  COUNT III: BAD FAITH BREACH OF CONTRACT AND
                   THE DUTY OF GOOD FAITH AND FAIR DEALING
                     (On behalf of the Business Income Coverage Class)

        111.    Plaintiff incorporates by reference and re-allege paragraphs 1 through 90 as though

fully set forth herein.

        112.    Plaintiff brings this Count both individually and on behalf of the other members of

the Business Income Coverage Class.




                                                22
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 23 of 40 PageID #:23




       113.    The Spectrum Policy, as well as the policies of other Business Income Coverage

Class members, are insurance contracts under which Defendants were paid premiums in exchange

for promises to pay Class members’ losses for claims covered by the Spectrum Policy.

       114.    In the Spectrum Policy, Defendants promised to pay for losses of business income

and extra expense incurred as a result of perils not excluded under the Spectrum Policy.

Specifically, Defendants promised to pay for losses of business income and extra expense

sustained as a result of a suspension of business operations during the period of restoration.

       115.    Plaintiff and Class members suffered an actual loss of business income and extra

expense to the necessary suspension of Plaintiff’s and other Class members’ business operations

at insured premises and said suspension(s) were caused by direct physical loss of and damage to

Plaintiff’s and other Class members’ insured premises caused by or resulting from COVID-19

disease and/or pandemic, both of which are Covered Causes of Loss under the Spectrum Policy

and other Class members’ policies. These actual losses, therefore, triggered Business Income and

Extra Expense coverage under both the Spectrum Policy and other Class members’ policies.

       116.    COVID-19 disease and COVID-19 pandemic were direct, physical and foreseeable

causes of loss under the Spectrum Policy and other Class members’ policies and they each caused,

and/or resulted in, dangerous physical conditions at, and physical injuries to, the Plaintiff’s and

other Class members’ insured premises and property immediately adjacent to each. COVID-19

disease and COVID-19 pandemic pose a serious risk to and endanger(ed) the public's health, safety

and property and rendered the Plaintiff’s and other Class members’ insured premises unusable

and/or uninhabitable; thus, mandating a suspension of business operations.

       117.    These losses and expenses are not excluded from coverage under the Spectrum

Policy. Because the Spectrum Policy is an all-risk policy, and Covered Causes of Loss are




                                                23
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 24 of 40 PageID #:24




determined by exclusions, COVID-19 disease and COVID-19 pandemic are Covered Causes of

Loss since neither disease nor pandemic are excluded Business Income and Extra Expense

coverage.

       118.    Furthermore, COVID-19 disease and COVID-19 pandemic caused direct physical

loss and damage to the Plaintiff’s various business premises and the other Class Members’ insured

premises resulting in dangerous physical conditions, the nature of such loss and damage to property

having been recognized by civil authorities in Orders addressing COVID-19.

       119.    Plaintiff and the other Class members have complied with all applicable provisions

of their respective policies, including payment of premiums.

       120.    The actions of the Defendants give rise to a cause of action for bad faith breach of

contract and the duty of good faith and fair dealing as Plaintiff and other Class members were

covered under Plaintiff’s Spectrum Policy, as well as the policies of other Business Income

Coverage Class members, and the Defendants have breached the terms of said policies by denying

business income and extra expense coverage to the Plaintiffs and other Class members.

Defendants’ actions in breaching the terms of the Spectrum Policy and the other Class Members’

policies, in bad faith, have proximately caused damages to Plaintiff and other Class members, and

the damages were reasonably foreseeable to the Defendants.

       121.    It appears that the Defendants’ conduct was performed because they placed their

own financial interests before the Plaintiff’s and other Class Members’ financial interests.

       122.    Further, the actions of the Defendants in denying business income and extra

expense coverage to the Plaintiff and other Class Members were done so without any legitimate

basis or arguable reason and constitute intentional and/or malicious conduct or gross negligence

and reckless disregard.




                                                24
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 25 of 40 PageID #:25




        123.    Implied in the Spectrum Policy and the other Class Members’ policies is a duty of

good faith and fair dealing with respect to conduct encompassed by contractual relations.

Defendants’ conduct as aforesaid breached the duty of good faith and fair dealing which further

gives rise to the tort of bad faith for the breach of contract.

        124.    Defendants, at all times relevant hereto, owed Plaintiff and other Class Members a

duty to exercise good faith and an obligation to deal fairly with them; however, the denial of

business income and extra expense coverage by Defendants constituted a bad faith breach of

contract and was totally made with only the Defendants’ best interests in mind and in total

disregard of the contractual rights of Plaintiff and other Class Members.

        125.    Defendants’ bad faith material breach(es) of the Spectrum Policy, as well as other

Class members’ policies, have resulted in actual and substantial damages to the Plaintiff and

Business Income Coverage Class members, depriving all of the benefit of their bargain, and

represents, in addition to warranting contractual damages, incidental damages and consequential

damages, an independent tort entitling Plaintiff and other Class Members to punitive damages in

an amount which will punish the Defendants for their intentional, grossly negligent, and/or reckless

conduct as well as to deter Defendants and others from similar misconduct in the future.

        WHEREFORE, Plaintiff, both individually and on behalf of other Class members, seeks

compensatory damages, contractual damages, incidental damages, consequential damages, and

punitive damages, resulting from Defendants’ bad faith breach(es) of the Spectrum Policy and

other Class Members’ policies and seek all other relief deemed appropriate by this Court.




                                                   25
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 26 of 40 PageID #:26




                                         COUNT IV:
                                DECLARATORY JUDGMENT
                 (On behalf of the Extended Business Income Coverage Class)

        126.    Plaintiff incorporates by reference and re-allege paragraphs 1 through 90 as though

fully set forth herein.

        127.    Plaintiff brings this Count both individually and on behalf of the other members of

the Extended Business Income Coverage Class.

        128.    Under 28 U.S.C. §§ 2201 and 2202, this Court has jurisdiction to declare the rights

and other legal relations of the parties in dispute.

        129.    The Spectrum Policy and the policies of other Extended Business Income Coverage

Class members are insurance contracts under which Defendants were paid premiums in exchange

for promises to pay Class members’ losses for claims covered by the respective policies.

        130.    Specifically, Defendants promised to pay for extended business income for losses

incurred by Plaintiff and other Class members during the period of restoration that the insureds

would not have incurred if there had been no loss or damage to the insured premises. Extended

business income included income to avoid or minimize the suspension of business, continue

operations, and to repair or replace property.

        131.    Plaintiff and Class members suffered direct physical loss of or damage to Plaintiff’s

locations and other Class members’ insured premises, resulting in suspensions or interruptions of

business operations at these premises. As a result, Plaintiff and other Class members have incurred

losses, as defined in the Spectrum Policy and other Class members’ policies.

        132.    These losses triggered Extended Business Income coverage under the Spectrum

Policy and other Class members’ policies.




                                                  26
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 27 of 40 PageID #:27




        133.    Plaintiff and the other Class members have complied with all applicable provisions

of their respective policies, including payment of premiums.

        134.    Defendants, without justification, deny that the Spectrum Policy and other Class

members’ policies provide coverage for Extended Business Income.

        135.    Plaintiff, both individually and on behalf of the other members of the Extended

Business Income Coverage Class, seeks a Declaratory Judgment that the Spectrum Policy, and

those of other members of the Extended Business Income Coverage Class, provides coverage for

these extended business income.

        136.    An actual case or controversy exists regarding Class members’ rights and

Defendants’ obligations under Class members’ policies to reimburse Class members for extended

business income. Accordingly, the Declaratory Judgment sought is justiciable.

        WHEREFORE, Plaintiff requests that this Court enter a Declaratory Judgment declaring

that the Spectrum Policy and other Class members’ policies provide coverage for Class members’

extended business income losses.

                           COUNT V: BREACH OF CONTRACT
                 (On behalf of the Extended Business Income Coverage Class)

        137.    Plaintiffs incorporate by reference and re-allege paragraphs 1 through 90 as though

fully set forth herein.

        138.    Plaintiff brings this Count individually and on behalf of the other members of the

Extended Business Income Coverage Class.

        139.    The Spectrum Policy, as well as the policies of other Extended Business Income

Coverage Class members, are insurance contracts under which Defendants were paid premiums in

exchange for promises to pay Class members’ losses for claims covered by the policies.




                                                27
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 28 of 40 PageID #:28




       140.    Specifically, Defendants promised to pay for extended business income for losses

incurred by Plaintiff and other Class members during the period of restoration that the insureds

would not have incurred if there had been no loss or damage to the insured premises. Extended

business income losses included income to avoid or minimize the suspension of business, continue

operations, and to repair or replace property.

       141.    Plaintiff and Class members suffered direct physical loss of or damage to the

Plaintiff’s insured locations and other Class members’ insured premises, resulting in suspensions

and interruptions of business operations at these premises. These suspensions and interruptions

have caused Class members to incur Extra Expenses.

       142.    These expenses triggered extended business income coverage under the Spectrum

Policy and other Class members’ policies.

       143.    Plaintiff and the other Class members have complied with all applicable provisions

of the Spectrum Policy, including payment of premiums.

       144.    Defendants, without justification and in bad faith, have denied coverage and refused

performance extended business income. Accordingly, Defendants are in breach of the Spectrum

Policy and other Class members’ policies.

       145.    As a result of Defendants’ breaches of the Spectrum Policy and other Class

members’ policies, Plaintiff and other Class members have suffered actual and substantial damages

for which Defendants are liable.

       WHEREFORE, Plaintiff, individually and on behalf of other Class members, seeks

compensatory damages resulting from Defendants’ breaches of the Spectrum Policy and other

Class Members’ policies and seek all other relief deemed appropriate by this Court.




                                                 28
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 29 of 40 PageID #:29




                  COUNT VI: BAD FAITH BREACH OF CONTRACT AND
                   THE DUTY OF GOOD FAITH AND FAIR DEALING
                 (On behalf of the Extended Business Income Coverage Class)

        146.    Plaintiff incorporates by reference and re-allege paragraphs 1 through 90 as though

fully set forth herein.

        147.    Plaintiff brings this Count both individually and on behalf of the other members of

the Extended Business Income Coverage Class.

        148.    The Spectrum Policy and the policies of other Extended Business Income Coverage

Class members are insurance contracts under which Defendants were paid premiums in exchange

for promises to pay Class members’ losses for claims covered by the policies.

        149.    In the Spectrum Policy, Defendants promised to pay extended business income for

losses, pursuant to the Specialty Property Coverage Form’s Extended Business Income provision

contained the Spectrum Policy and other Class Members' policies, incurred as a result of perils not

excluded under the policies. Specifically, Defendants promised to pay for losses of Extended

Business Income sustained as a result of a suspension of business operations during the period of

restoration.

        150.    Plaintiff and Class members suffered an actual loss of business income due to the

necessary Suspension of Plaintiff’s and other Class members’ business operations at insured

premises and said suspension(s) were caused by direct physical loss of and damage to Plaintiff’s

and other Class members’ insured premises caused by or resulting from COVID-19 disease and/or

pandemic, both of which are Covered Causes of Loss under the Spectrum Policy and other Class

members’ policies. These actual losses, therefore, triggered Specialty Property Coverage Form’s

Extended Business Income coverage under both the Spectrum Policy and other Class members’

policies.




                                                29
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 30 of 40 PageID #:30




       151.    COVID-19 disease and COVID-19 pandemic were direct, physical and foreseeable

causes of loss under the Spectrum Policy and other Class members’ policies and they each caused,

and/or resulted in, dangerous physical conditions at, and physical injuries to, the Plaintiff’s and

other Class members’ insured premises and property immediately adjacent to each. COVID-19

disease and COVID-19 pandemic pose a serious risk to and endanger(ed) the public's health, safety

and property and rendered the Plaintiff’s and other Class members’ insured premises unusable

and/or uninhabitable; thus, mandating a suspension of business operations.

       152.    These losses and expenses are not excluded from coverage under the Spectrum

Policy. Because the Spectrum Policy is an all-risk policy, and Covered Causes of Loss are

determined by exclusions, COVID-19 disease and COVID-19 pandemic are Covered Causes of

Loss since neither disease nor pandemic are excluded under Extended Business Income coverage.

       153.    Furthermore, COVID-19 disease and COVID-19 pandemic caused direct physical

loss and damage to the Plaintiff’s various business premises and the other Class Members' insured

premises resulting in dangerous physical conditions, the nature of such loss and damage to property

having been recognized by civil authorities in Orders addressing COVID-19.

       154.    Plaintiff and the other Class members have complied with all applicable provisions

of their respective policies, including payment of premiums.

       155.    The actions of the Defendants give rise to a cause of action for bad faith breach of

contract and the duty of good faith and fair dealing as Plaintiff and other Class members were

covered under the Spectrum Policy, as well as the policies of other Extended Business Income

Coverage Class members, and the Defendants have breached the terms of said policies by denying

extended business income coverage to the Plaintiff and other Class members. Defendants’ actions

in breaching the terms of the Spectrum Policy and the other Class Members' policies, in bad faith,




                                                30
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 31 of 40 PageID #:31




have proximately caused damages to Plaintiffs and other Class members and the damages were

reasonably foreseeable to the Defendants.

        156.    It appears that the Defendants’ conduct was performed because they placed their

own financial interests before the Plaintiff’s and other Class Members' financial interests.

        157.    Further, the actions of the Defendants in denying extended business income

coverage to the Plaintiff and other Class Members were done so without any legitimate basis or

arguable reason and constitute intentional and/or malicious conduct or gross negligence and

reckless disregard.

        158.    Implied in the Spectrum Policy and the other Class Members’ policies is a duty of

good faith and fair dealing with respect to conduct encompassed by contractual relations.

Defendants’ conduct as aforesaid breached the duty of good faith and fair dealing which further

gives rise to the tort of bad faith for the breach of contract.

        159.    Defendants, at all times relevant hereto, owed Plaintiff and other Class Members a

duty to exercise good faith and an obligation to deal fairly with them; however, the denial of

extended business income coverage by Defendants constituted a bad faith breach of contract and

was totally made with only the Defendants’ best interests in mind and in total disregard of the

contractual rights of Plaintiffs and other Class Members.

        160.    Defendants’ bad faith material breach(es) of the Spectrum Policy, as well as other

Class members’ policies, has resulted in actual and substantial damages to the Plaintiff and

Extended Business Income Coverage Class members, depriving all of the benefit of their bargain,

and represents, in addition to warranting contractual damages, incidental damages, and

consequential damages, an independent tort entitling Plaintiff and other Class Members to punitive

damages in an amount which will punish the Defendants for their intentional, grossly negligent,




                                                   31
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 32 of 40 PageID #:32




and/or reckless conduct as well as to deter Defendants and others from similar misconduct in the

future.

          WHEREFORE, Plaintiff, both individually and on behalf of other Class members, seeks

compensatory damages, contractual damages, incidental damages, consequential damages, and

punitive damages, resulting from Defendants’ bad faith breach(es) of the Spectrum Policy and

other Class Members’ policies and seek all other relief deemed appropriate by this Court.

                           COUNT VII: DECLARATORY JUDGMENT
                          (On behalf of the Civil Authority Coverage Class)

          161.   Plaintiff incorporates by reference and re-allege paragraphs 1 through 90 as though

fully set forth herein.

          162.   Plaintiff brings this Count both individually and on behalf of the other members of

the Civil Authority Coverage Class. 112. Under 28 U.S.C. §§ 2201 and 2202, this Court has

jurisdiction to declare the rights and other legal relations of the parties in dispute.

          163.   The Spectrum Policy, as well as the policies of other Civil Authority Coverage

Class members, are insurance contracts under which Defendants were paid premiums in exchange

for promises to pay Class members’ losses for claims covered by the policies.

          164.   In the Spectrum Policy and other Class members’ policies, Defendants promised to

pay for losses of business income sustained and extra expenses incurred when, among other things,

a covered cause of loss causes damage to property near the insured premises, the civil authority

prohibits access to property near the insured premises, and that access to the “scheduled premises”

was prohibited by order of the civil authority as a direct result of a Covered Cause of Loss to

property in the immediate area.




                                                  32
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 33 of 40 PageID #:33




        165.    Plaintiff and other Class members have suffered losses and incurred expenses as a

result of actions of civil authorities that prohibited access to insured premises under the Spectrum

Policy and Class members’ policies.

        166.    These losses satisfied all requirements to trigger Civil Authority coverage under the

Spectrum Policy and other Class members’ policies.

        167.    Plaintiff and the other Class members have complied with all applicable provisions

of the Spectrum Policy, including payment of premiums.

        168.    Defendants, without justification, deny that the Spectrum Policy provides coverage

for these losses.

        169.    Plaintiff seeks a Declaratory Judgment that the Spectrum Policy and other Class

members’ policies provide coverage for the losses that Class members have sustained and extra

expenses they have incurred caused by actions of civil authorities.

        170.    An actual case or controversy exists regarding Class members’ rights and

Defendants’ obligations under Class members’ policies to reimburse Class members for these

losses and extra expenses. Accordingly, the Declaratory Judgment sought is justiciable.

        WHEREFORE, Plaintiff, both individually and on behalf of other Class members,

requests that this Court enter a Declaratory Judgment declaring that the policies provide Civil

Authority coverage for the losses and extra expenses incurred by Plaintiffs and the other Class

members.

                             COUNT VIII: BREACH OF CONTRACT
                          (On behalf of the Civil Authority Coverage Class)

        171.    Plaintiff incorporates by reference and re-allege paragraphs 1 through 90 as though

fully set forth herein.




                                                 33
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 34 of 40 PageID #:34




        172.   Plaintiff brings this Count individually and on behalf of the other members of the

Civil Authority Coverage Class.

        173.   The Spectrum Policy, as well as the policies of other Civil Authority Coverage

Class members, are insurance contracts under which Defendants were paid premiums in exchange

for promises to pay Class members’ losses and expenses covered by the policies.

        174.   In the Spectrum Policy and other Class members’ policies, Defendants promised to

pay for losses of business income sustained and extra expenses incurred when a covered cause of

loss causes damage to property near the insured premises, the civil authority prohibits access to

property near the insured premises, and that access to the “scheduled premises” was prohibited by

order of the civil authority as a direct result of a Covered Cause of Loss to property in the

immediate area.

        175.   Plaintiff and other Class members have suffered losses and incurred expenses as a

result of actions of civil authorities that prohibited access to insured premises under the Spectrum

Policy and Class members’ policies.

        176.   These losses satisfied all requirements to trigger Civil Authority coverage under the

Spectrum Policy and other Class members’ policies.

        177.   Plaintiff and the other Class members have complied with all applicable provisions

of their policies, including payment of premiums.

        178.   Defendants, without justification and in bad faith, have refused performance under

the Spectrum Policy and other Class members’ policies by denying coverage for these losses and

expenses. Accordingly, Defendants are in breach of the Spectrum Policy and other Class members’

policies.




                                                34
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 35 of 40 PageID #:35




        179.    As a result of Defendants’ breaches of the Spectrum Policy and other Class

members’ policies, Plaintiffs and other Class members have suffered actual and substantial

damages for which Defendants are liable.

        WHEREFORE, Plaintiff seeks compensatory damages resulting from Defendants’

breaches of the Spectrum Policy and other Class members’ policies and seek all other relief

deemed appropriate by this Court.

                  COUNT IX: BAD FAITH BREACH OF CONTRACT AND
                   THE DUTY OF GOOD FAITH AND FAIR DEALING
                     (On behalf of the Civil Authority Coverage Class)

        180.    Plaintiff incorporates by reference and re-allege paragraphs 1 through 90 as though

fully set forth herein.

        181.    Plaintiff brings this Count individually and on behalf of the other members of the

Civil Authority Coverage Class.

        182.    The Spectrum Policy, as well as the policies of other Civil Authority Coverage

Class members, are insurance contracts under which Defendants was paid premiums in exchange

for promises to pay Class members’ losses and expenses covered by the policies.

        183.    In the Spectrum Policy and other Class members’ policies, Defendants promised to

pay for actual loss of business income sustained and necessary extra expenses incurred when a

Covered Cause of Loss caused damage to property other than property at the Plaintiff’s respective

insured premises or Class Members’ insured premises and that the Plaintiff and other Class

Members suffered actual loss due to civil authorities prohibiting access to Plaintiff’s and Class

Members’ premises and that access to the “scheduled premises” was prohibited by order of the

civil authority as a direct result of a Covered Cause of Loss to property in the immediate area.




                                                35
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 36 of 40 PageID #:36




       184.    COVID-19 disease and COVID-19 pandemic were direct, physical and foreseeable

causes of loss under the Spectrum Policy and other Class members’ policies and they each caused,

and/or resulted in, dangerous physical conditions at, and physical injuries to, the Plaintiff’s and

other Class members’ insured premises and property immediately adjacent to each. COVID-19

disease and COVID-19 pandemic pose a serious risk to and endanger(ed) the public's health, safety

and property and rendered the Plaintiff’s and other Class members’ insured premises and areas

within the immediate area of the Plaintiff’s business premises and other Class Members’ insured

premises, damaged, unusable and/or uninhabitable; thus, prompting the Orders of civil authorities

prohibiting access to the same.

       185.    These losses and expenses are not excluded from coverage under the Spectrum

Policy. Because the Spectrum Policy are all-risk policies, and Covered Causes of Loss are

determined by exclusions, COVID-19 disease and COVID-19 pandemic are Covered Causes of

Loss since neither disease nor pandemic are excluded under Civil Authority coverage.

       186.    Furthermore, COVID-19 disease and COVID-19 pandemic caused damage to

property in the immediate area of Plaintiffs’ various insured business premises, and the other Class

Members’ insured premises, resulting in dangerous physical conditions prompting civil

authorities, such as, for example, the State of Illinois to issue Orders prohibiting the public’s access

to the area immediately surrounding the damaged property, including access to the Plaintiff’s

business premises and other Class Members’ insured premises.

       187.    Accordingly, these losses satisfied all requirements to trigger Civil Authority

coverage under the Spectrum Policy and other Class members’ policies.

       188.    Plaintiffs and the other Class members have complied with all applicable provisions

of the policies, including payment of premiums.




                                                  36
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 37 of 40 PageID #:37




        189.    The actions of the Defendants give rise to a cause of action for bad faith breach of

contract and the duty of good faith and fair dealing as Plaintiff and other Class members were

covered under the Spectrum Policies, as well as the policies of other Civil Authority Coverage

Class members, and the Defendants have breached the terms of said policies by denying Civil

Authority coverage to the Plaintiff and other Class members. Defendants’ actions in breaching the

terms of the Spectrum Policy and the other Class Members’ policies, in bad faith, have proximately

caused damages to Plaintiffs and other Class members and the damages were reasonably

foreseeable to the Defendants.

        190.    It appears that the Defendants’ conduct was performed because they placed their

own financial interests before the Plaintiff’s and other Class Members’ financial interests.

        191.    Further, the actions of the Defendants in denying Civil Authority coverage to the

Plaintiff and other Class Members was done so without any legitimate basis or arguable reason

and constitute intentional and/or malicious conduct or gross negligence and reckless disregard.

        192.    Implied in the Spectrum Policy and the other Class Members’ policies is a duty of

good faith and fair dealing with respect to conduct encompassed by contractual relations.

Defendants’ conduct as aforesaid breached the duty of good faith and fair dealing which further

gives rise to the tort of bad faith for the breach of contract.

        193.    Defendants, at all times relevant hereto, owed Plaintiff and other Class Members a

duty to exercise good faith and an obligation to deal fairly with them; however, the denial of Civil

Authority coverage by Defendants constituted a bad faith breach of contract and was totally made

with only the Defendants’ best interests in mind and in total disregard of the contractual rights of

Plaintiff and other Class Members.




                                                   37
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 38 of 40 PageID #:38




       194.    Defendants’ bad faith material breach(es) of the Spectrum Policy, as well as other

Class members’ policies, has resulted in actual and substantial damages to the Plaintiff and Civil

Authority Coverage Class members, depriving all of the benefit of their bargain, and represents,

in addition to warranting contractual damages, incidental damages, and consequential damages,

an independent tort entitling Plaintiff and other Class Members to punitive damages in an amount

which will punish the Defendants for their intentional, grossly negligent, and/or reckless conduct

as well as to deter Defendants and others from similar misconduct in the future.

       WHEREFORE, Plaintiff, both individually and on behalf of other Class members, seeks

compensatory damages, contractual damages, incidental damages, consequential damages, and

punitive damages, resulting from Defendants’ bad faith breach(es) of the Spectrum Policy and

other Class Members’ policies and seek all other relief deemed appropriate by this Court.

                                   PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in its favor

and against Defendants, as follows:

       A.      Entering an order certifying the proposed Classes, designating Plaintiff as Class

representative for each of the Classes, and appointing Plaintiff’s attorneys as Counsel for the

Classes;

       B.      Entering declaratory judgments on Counts I, IV, and VII in favor of Plaintiff and

the members of the Business Income Coverage Class, Extended Business Income Coverage Class

and Civil Authority Coverage Class as follows:

                  a. That all Business Income and Extra Expense, Civil Authority and Extended

                      Business Income losses and expenses incurred and sustained based on the




                                                 38
    Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 39 of 40 PageID #:39




                       facts and circumstances set forth above are insured and covered losses and

                       expenses under Plaintiff’s and Class members’ policies; and

                   b. Defendants are obligated to pay for the full amount of the Business Income

                       and Extra Expense, Civil Authority and Extended Business Income losses

                       and expenses sustained and incurred, and to be sustained and incurred,

                       based on the facts and circumstances set forth above are insured and covered

                       losses and expenses under Plaintiff’s and Class members’ policies;

       C.      Entering judgments on counts II, V, and VIII in favor of Plaintiff and the members

of the Business Income Coverage Class, Extended Business Income Coverage Class and Civil

Authority Coverage Class, and awarding damages for breach of contract in an amount to be

determined at trial;

       D.      Entering judgments on counts III, VI, IX in favor of the Plaintiff and the members

of the Business Income Coverage Class, Extended Business Income Coverage Class and Civil

Authority Coverage Class, and awarding compensatory damages, incidental damages,

consequential damages, and punitive damages for the Defendants’ bad faith material breach(es) in

an amount to be determined at trial;

       E.      An order requiring Defendants to pay both pre- and post-judgment interest on any

amounts awarded; and

       F.      Such other or further relief as may be appropriate.




                                                39
  Case: 1:20-cv-07097 Document #: 1 Filed: 12/01/20 Page 40 of 40 PageID #:40




                            DEMAND FOR JURY TRIAL

    The undersigned hereby demands a trial by jury as to all issues so triable.


Dated: December 1, 2020                            Respectfully submitted,

                                                   /s/ Lisa B. Weinstein
                                                   Lisa B. Weinstein
                                                   M. Elizabeth Graham**
                                                   Adam J. Gomez**
                                                   GRANT & EISENHOFER P.A.
                                                   30 N. LaSalle Street, Suite 2350
                                                   Chicago, IL 60602
                                                   T: (312) 610-5350
                                                   lweinstein@gelaw.com
                                                   egraham@gelaw.com
                                                   agomez@gelaw.com

                                                   ** Pro Hac Vice Forthcoming
                                                   Attorneys for the Plaintiff and Putative
                                                   Class




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